Case 2:04-cV-0247O-SHI\/|-egb Document 24 Filed 05/09/05 Page 1 of 2 Page|D 32

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IN THE UNITED sTATES DISTRICT CoURT 05 HAY- -9 PM i[. 91
FoR THE wEsTERN DISTRICT oF TENNESSEE

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WILLIE J. JACKSON,
Plaintiff,
v. NO.: 04-2470-Ma/An

FEDERAL EXPRESS CORPORATION,
and FEDEX CORPORATE SERVICES,

Defendants.

 

[¥RGPGS’EB] ORDER GRANTING UNOPPOSED MOTION FOR
MODIFICATION OF THE COURT’S SCHEDULING ORDER

 

lt appearing to this Court that good cause is shown and that the parties Joint Motion for
Modification of the Court’s Scheduling Order should be granted;

lT IS, THEREFORE, ORDERED that this Court’s Scheduling Order be modified to allow
Plaintiff up to and including June 2, 2005 to make his Rule 26 expert disclosure and be modified to

allow the Defendants up to and including July 7, 2005 to make their Rule 26 expert disclosure

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DATE: 232 UJM:F

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with Rule 58 and/or 79(a )FRCP on _{Q__Q_’_@___q 94 4

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02470 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

